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  8                      UNITED STATES DISTRICT COURT
  9                    CENTRAL DISTRICT OF CALIFORNIA
 10                             WESTERN DIVISION
 11 CRYTEK GMBH,                            )   Case No.CV 17-8937-DMG (FFMx)
                                            )
 12                         Plaintiff,      )   ORDER RE JOINT
                                            )   STIPULATION TO CONTINUE
 13              v.                         )   HEARING ON DEFENDANTS’
                                            )   MOTION FOR BOND PURSUANT
 14 CLOUD IMPERIUM GAMES CORP.              )   TO CAL. CIV. PROC. CODE §
    and ROBERTS SPACE INDUSTRIES            )   1030 [58]
 15 CORP.,                                  )
                                            )
 16                         Defendants.     )
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  1        The Court, having reviewed Plaintiff CRYTEK GMBH (“Plaintiff”) and
  2 Defendants CLOUD IMPERIUM GAMES CORP. and ROBERTS SPACE
  3 INDUSTRIES CORP.’s (“Defendants”) Joint Stipulation to Continue Hearing on
  4 Defendants’ Motion for Bond Pursuant to Cal. Civ. Proc. Code § 1030 (the “Motion
  5 for Bond”), and good cause appearing therefor, hereby ORDERS that:
  6        The hearing on the pending Motion for Bond [ECF No. 57] is continued to
  7 June 28, 2019 at 9:30 a.m.;
  8        Plaintiff’s opposition to the Motion for Bond shall be due on or before May
  9 28, 2019;
 10        Defendants’ reply in support of the Motion for Bond shall be due on or before
 11 June 7, 2019; and
 12        Defendants’ deadline to respond to any outstanding discovery shall be 30 days
 13 after the earliest of (a) Plaintiff’s compliance with an order GRANTING the Motion
 14 for Bond; (b) the Court’s entry of an order DENYING the Motion for Bond; or (c)
 15 August 27, 2019.
 16 IT IS SO ORDERED.
 17 DATED: April 5, 2019
 18
                                               DOLLY M. GEE
 19                                    UNITED STATES DISTRICT JUDGE
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                         [PROPOSED] ORDER RESETTING HEARING
